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 8                                UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
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12   LASANDRA PRICE, an individual,                  Case No.: 5:21-cv-01451-JAK-SP
13                  Plaintiff,
14       v.                                          ORDER FOR DISMISSAL WITH
                                                     PREJUDICE
15   HERBERT CHRISTOPHER, Trustee of
     the Christopher Family Trust dated June         JS-6
16   19, 2001; IHOP FOOTHILL BLVD., a
     business of unknown form; and DOES 1-
17   10,
                  Defendants.
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20            Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
21   it, and being fully advised finds as follows:
22            IT IS ORDERED THAT:
23            Plaintiff LaSandra Price’s action against Defendants Herbert Christopher, and
24   IHOP Foothill Blvd. is dismissed with prejudice. Each party will be responsible for its
25   own fees and costs.
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27   Dated:      October 20, 2021
                                                            John A. Kronstadt
28                                                          United States District Judge
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                                  ORDER FOR DISMISSAL WITH PREJUDICE
